aura fie Lan DHVID J. NUUNAN, ESQ, No. 0750 5
¢: Separate SOBOI RE UEBCtient ahep:EHePOs OES, eopldgpiensnandboox erin. il-pdf

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MENT TRACK DESIGNATION FORM
CIVIL ACTION

CASE MANAGE

FAVORITE HEALTHCARE STAFFING, INC.!

Vv. :
ATLANTIC DIAGNOSTIC LABORATORIES xo 3 980

G
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Fonn i all civil cases at the time of
filmg the complamt and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plamnff regarding said
designation, that defendant shal), with its first appearance, submut to the clerk of court and serve on
the plaintiff and all other parties, a Case Manageinent Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought mder 78 U.S.C. § 2241 through § 2255. ()

(b) Soctal Secumity — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Secunty Benefits. ()

(c) Arbitration — Cases required 1o be designated for arbitration under Local Civil Rule 53.2. (+)
(d) Asbestos ~ Cases mvolving claims for personal uyury or property damage from
exposure to asbestos. ()

(e) Special Management ~- Cases that do not fall into tracks (a) throngh (d) that are
commonly referred to as complex and that need special or mitense management by
the court. (See reverse side of this for for a detailed explanation of special
Inahagenent cases.) ()

(f) Standard Management — Cases that do not fall mto any one of the other tracks.

2-25-13 PLAINTIFF
Date Attorney for
413-549-549) noonanilaw=djn_com
Telephone FAX Number E-Mail Address

(Civ, 666) 10:02

FEB 22 9013

2/22/2013 12:33 PM
1 of 2
